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 4                              UNITED STATES DISTRICT COURT
 5                                     DISTRICT OF NEVADA
 6                                               ***
                                                             Case No. 2:17-cv-02344-RFB-DJA
 7    MICHAEL RODRIGUEZ,
                 Plaintiff,                                        ORDER TO PRODUCE
 8
                                                                  FOR TELECONFERENCE
 9   v.                                                           MICHAEL RODRIGUEZ,
                                                                        #1024751
10   NAPHCARE, INC., et al,
11                      Defendants.
12
          TO:     CALVIN JOHNSON, WARDEN, HIGH DESERT STATE PRISON, INDIAN
13                SPRINGS, NV
14          THE        COURT          HEREBY          FINDS          that    MICHAEL
15   RODRIGUEZ, #1024751, is presently in custody of the Nevada Department of Corrections,
16   located at High Desert State Prison, Indian Springs, Nevada..
17          IT IS HEREBY ORDERED that the Warden of High Desert State Prison or his
18   designee, shall arrange for and produce M I C H A E L R O D R I G U E Z , # 1 0 2 4 7 5 1 on
19   or about Friday, October 8, 2021, at       the   hour    of 9 : 3 0 a.m., for   a teleconference
20   hearing by zoomgov technology in the instant matter, and arrange for his appearance on
21   said date as ordered and directed by the Court entitled above, until M I C H A E L
22   R O D R I G U E Z , 1 0 2 4 7 5 1 , is released and discharged by the said           Court;
23   and that MICHARL RODRIGUEZ, #1024751 , shall thereafter be returned to the custody of
24   the Warden, H i g h      Desert       State       Prison,          Indian
25   S p r i n g, Nevada, under safe and secure conduct.
26
           DATED this 27th day of September, 2021.
27                                                      __________________________________
28                                                      RICHARD F. BOULWARE, II
                                                        UNITED STATES DISTRICT JUDGE
